                Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 1 of 10

                                                                   MAR 10 2021
       21 8T JUDICIAL DISTRICT COURT FOR THE PARISH OF TANGIPAHOA

                                      STATE OF LOUISIANA

NO:   2021-_Q_~(oC( g                                                               D VISION"
                                        CHLOEE HOLDEN

                                               VERSUS

      SOUTHEASTERN LOUISIANA UNIVERSITY AND STATE OF L01 ISIANA
       THROUGH THE BOARD OF SUPERVISORS FOR THE UNIVERSITY OF
                         LOUISIANA SYSTEM

FILED: _ _ _        2 _20_21_
            M_AR_ 1 _                                                s/TAMMY               EN
                                                                DEPUTY CLERK

                                   PETITION FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, comes Chloee Hold n, who files this

Petition for Damages and respectfully avers as follows:

                                                    I.
                                                                                       I

       Made Plaintiff is Chloee Holden, an individual of full age of majority, an a domiciliary of

Alvin, Texas.

                                                   II.

       This Court has subject matter jurisdiction pwsu~mt to .A...rticle 2 ofthe Louisi ~na Code of Civil

Procedure.

                                                   III.

       Venue is proper in this Court pursuant to Article 42 of the Louisian Code of Civil

Procedure.

                                                  IV.

       Made Defendants are:

       a.        The Board of Supervisors for the University of Louisiana System, political body of

                 the State of Louisiana, domiciled in the Parish of East Baton Rouge, State of

                 Louisiana, which, upon information and belief, is the gov ming body for

                 Southeastern Louisiana University and answerable for the acts an /or omissions of

                 officers, directors, administrators, and other personnel 1; and




       1
        The Board of Supervisors for the University of Louisiana is an entity cap ble of being sued
under La. Rev. Stat.17:3351(A)(l).

0034509l.WPD;l                                  Page I of 6




                                         Exhibit "1"
              Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 2 of 10



        b.     Southeastern Louisiana University ("SLU"), a Louisiana institution with its principal

               place ofbusiness in the Parish of Tangipahoa, State ofLouisiana.

                                                  v.


August 2016 through May 2017, and renewed for August 2017 through May             r
        Plaintiff accepted a "Grant-In-Aid Offer" from Southeastern Louisiana Uni ersity, effective

                                                                                         18, wherein in

exchange for her participation in the women's volleyball program, SLU would pro ide "full tuition,

permissible fees (ID & lab fee), room & board, and course related books." Plaintiff's acceptance of

Defendants' offer created a binding contract between Plaintiff and Defendants. J a. Civ. Code art.

1927.
                                                                                    I·
                                                  VI.

        Pursuant to the contract between Plaintiff and Defendants, the "grant-in-aii award is subject

to reduction or cancelation [sic] during the term of the award for actions whiah contradict the
                                                                                   I
Southeastern student-athlete code of conduct defined in the Student-Athlete       ~andbook,      or for

academic achievement which jeopardizes NCAA eligibility status." This contra<!:t was entered in

accordance with the NCAA Bylaws, specifically 15.3.7 and/or 15.3.2.4, which       Lre     incorporated

by reference therein. Moreover, the contract provided that "a student-athlete mul t receive written

notice of a hearing opportunity if aid is reduced or cancelled during the period r f award for any

reason, or not renewed for the following academic year ([NCAA] Bylaw 15.3.7, ." The contract

further provided that, "Institutional aid may NOT BE REDUCED OR CANCEt LED during the

period of this award FOR THE FOLLOWING REASONS: 1. On the basis of a student's athletic

ability, performance or contribution to a team's success."

                                                 VII.

        Plaintiff avers that during the Fall2017 semester, Women's Volleyball H ad Coach James

Smoot engaged in emotionally abusive conduct towards Plaintiff and her fl low teammates.

Concerned by this behavior and other apparently violations of school policy, Pl intiff, along with

other teammates, scheduled a meeting with Athletic Director, Jay Artigues, to discuss concerns

r()garding Coach Smoot's behavior towards the student-athletes. Shortly thereafter, Plaintiff was

advised that she was being removed from the team and that her scholarship     woul~ not be renewed
for the following academic year.




0034509l.WPD;l                                 Page 2 of 6




                                       Exhibit "1"
                Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 3 of 10



                                                 VIII.

        In an email dated November 21,2017, Athletic Director Jay Artigues wrote the following to

Lorenza Owens, Plaintiffs mother:

                 [H]ead coaches have the authority to cut or keep whoever they feel fS
                 best for their program. Coaches evaluate each player based oln
                 athletic ability, coach ability, attitude, as well as what kind 6f
                 teammate each player may be. After evaluating Chloee[,] Coa9h
                 Smoot decided that it is best for the volleyball program to release
                 Chloee from the team. Chloee is given her unconditional release add
                 is free to transfer to any school she chooses. If Chioee decided Jo
                 return to Southeastern in the spring[,] then she w[ ould] remain 9n
                 scholarship until the spring semester is complete. If Chloee has artY
                 questions regarding her release[,] she should visit with Justin Bice in
                 the compliance office.                                               l1




                 This decision is final as I do not override our coaches[']  personn~l
                 decisions. No other meeting or discussion is needed regarding thls
                 matter.

Accordingly, it is clear that Plaintiff was not only denied adequate notice and/or hearing, as required

by the Grant-in-Aid agreement and the NCAA Bylaws, but Plaintiff was                ~er       denied an

opportunity for review or an appeal of the decision imposed upon her, as accordinJ to Mr. Artigues,

the decision was "final" and not subject to review or reversal. Significantly, the rel ons cited by Mr.

Arti~rues
    ~
            in sunnort ofthe decision to remove Plaintiff from the team and to cancL her scholarshin
                ~ ~                                                                  I                 ~


appear performance based. Canceling Plaintiffs contract for reasons related to performance directly

contradicts with the contract which states that, "Institutional aid may NOT       B4     REDUCED OR

CANCELLED duringtheperiodofthis award FOR THE FOLLOWING REASONS : 1. On the basis

of a student's athletic ability, performance or contribution to a team's success .... " Neither Mr.

Artigues nor Mr. Smoot cited specific violation of student-athlete code of conduct as defined in the

Student-Athlete Handbook.

                                                   IX.

        Moreover, despite SLU not renewing Plaintiffs aid "for the following academic year," she

was not provided with '\vritten notice of a hearing opportunity." Rather, Ms. Ho !t en's mother was

advised that the "decision [wa]s fmal," and that Athletic Director Artigues would   'tot   override [his]

coaches['] personnel decisions,'' and that "no other meeting or discussion is ne ded," despite the

request for same. Furthermore, Plaintiff requested an appeal with Mr. Bice, who d nied Plaintiff the

opportunity for a hearing, and failed to provide her written notice of the oppo '. ity for a formal




0034509l.WPD;l                                  Page 3 of 6




                                         Exhibit "1"
               Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 4 of 10



hearing in writing in violation of the Grant-in-Aid and NCAA Bylaws 15.3.7 andlo 15.3.2.4, which

were adopted by reference therein.

                                                     X.

        Additionally, according to provision XIV C. of the SLU Student Athlete Handbook, the

"notification of financial aid renewals and non-renewals must come from the        Dire~tor   of Financial

Aid." This provision is in line with NCAA Bylaw 15 .3.2.4, which provides that "the institution's

regular financial aid authority shall notify the student-athlete in writing of the opportunity for a

hearing when institutionalfmancial aid based in any degree on athletics ability ... ~s reduced or not

renewed for the following academic year. The institution shall have              establi~hed   reasonable

procedures for promptly hearing such a request and shall not delegate the 1 sponsibility for

conducting the hearing to the university's athletics department or its faculty athletics committee. The

written notification of the opportunity for a heating shall include a copy of r e institution's

established policies and procedures for conducting the required hearing, including the deadline by
                                                                                        I
which a student-athlete must request such a hearing." upan information and belief, r aintiff received

no such notification of non-renewal nor notice of any opportunity for hearing. J: Therefore, SLU

breached its obligations in bad faith and further breached the incorporated NCP..A :ffiylaws by fail~1g

to advise plaintiff of her non-renewal via the SLU Director of Financial Aid.

                                                    XI.




University of Louisiana System (collectively "the school") breached its contract     r
        Plaintiff avers that Southeastern Louisiana University and The Board of S pervisors for the
                                                                                        1

                                                                                            Plaintiff when

it canceled Plaintiff's contract, failed to provide Plaintiff written notice of a hearing1opportunity, and

deprived Plaintiff of a hearing. Southeastern Louisiana University and The Boj d of Supervisors

failed to identify any action by Plaintiff contradicting Southeastern's student-athletl code of conduct

defined in the Student-Athlete Handbook, as required under the terms of the Granl in-Aid Offer for

cancelation during the term of the award.

                                                   XII.

        Plaintiff further avers that Defendants, Southeastern Louisiana University and The Board of

Supervisors for the University of Louisiana System, are liable for the acts ofits emi oyees, including

but not limited to, the acts of James Smoot, Jay Artigues, and Justin Bice for their r ckless disregard

ofPlaintiffs contractual rights in breach of the Grant-In-Aid Offer. As such, Defendants are further

0034509l.WPD;1                                   Page 4 of 6




                                          Exhibit "1"
              Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 5 of 10


                                                                                       I
liable as obligors in bad faith and are liable for all damages, forseeable or not, hat are a direct

consequence of the failure to perform. La. Civ. Code. art. 1997.

                                                 XIII.

       Plaintiff avers that she has sustained damages resulting from Defendants' bad faith breach

of contract, including but not limited to past and future economic loss of tuition, ermissible fees
                                                                                       I



(ID & lab fee), room & board, course related books, and loss of earning capacity; eneral damages

including emotional distress. Plaintiff seeks all damages that are just and due in r e premises.


       WHEREFORE, Plaintiff, Chloee Holden, prays that her Petition for Dami ges be filed, and

that after service and all delays, there be judgment in her favor and against Defendants, The Board

of Supervisors for the University of Louisiana System and Southeastern Louisianl University, for

all swns and damages referenced herein and those that are just and due in 1 e premises and

recoverable as a matter oflaw, including but not limited to, past and future economl' c loss of tuition,

permissible fees (ID & lab fee), room & board, course related books, and loss of arning capacity;

general damages inc! uding emotional distress, attorney's fees, plus all costs and lj kal interest from

date of wrongdoing and/or judicial demand, as may be applicable.


                                                Respectfully submitted,

                                                LOWE, STEIN, HOFFMAN,
                                                ALLWEISS & HAUVER, LLP




PLEASE SERVE:

The Board of Supervisors for the
University of Louisiana System through:
Jeff Landry
Attorney General of the State of Louisiana
1885 N . 3rd Street
Baton Rouge, LA 70802




0034509l.WPD;1                                  Page 5 of 6




                                         Exhibit "1"
             Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 6 of 10



The Board of Supervisors for the
University of Louisiana System through
Melissa Harris -- Office of Risk Management of the State of Louisiana
1201 N. Third Street, Suite G-192
Baton Rouge, LA 70802


The Board of Supervisors for the
University of Louisiana System through
James Carter, Chair ofThe Board of Supervisors for the
University of Louisiana System
1201 North Third Street, Suite 7-300
Baton Rouge, LA 70802

Southeastern Louisiana University
through its University President
Dr. John Crain
Office of the President
Dyson Hall, Room 106
500 W University Avenue
Hammond, Louisiana 70402




0034509l.WPD;1                              Page 6 of 6




                                     Exhibit "1"
              Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 7 of 10



       21sr JUDICIAL DISTRICT COURT FOR THE PARISH OF                     TANG~AHOA
                                    STATE OF LOillSIANA

NO:   2021-.WOD b.1'$J                                                             DIVISION"      "
                                      CHLOEE HOLDEN

                                            VERSUS

      SOUTHEASTERN LOUISIANA UNIVERSITY AND STATE OF LOUISIANA
       THROUGH THE BOARD OF SUPERVISORS FOR THE UNIVERSITY OF
                         LOUiSIA~A SYSTEM:

           M~R t 2
FILED: --------------     2d2t                                      s/TAMl\fY WREN
                      -
                                                             DEPUTY CLERK

                   NOTICE OF PRIOR FILING OR MULTIPLE FILING

       Pursuant to Louisiana District Court Rule 9.4, please take notice that Plaintiff, Chloee

Holden, previously filed a Petition for Damages, with the assigned Docket No. 2018-3472 in

Division "E" and certain of those claims arose out of the same or similar facts.


                                              Respectfully submitted,

                                              LOWE, STEIN, HOFFMAN,
                                              AL~~EISS & HAUVER, LLP                I
                                                  ~~\,        [\,   ,-----   . .

                                              i'viELANiE, c:'LOCKETT (#30601)
                                             MICHAEL R. ALL WEISS (#2425)
                                             701 Poydras St., Suite.3600
                                             New Orleans, Louisiana 70139
                                             Telephone: (504) 581 -2450
                                             Attorney for Plaintiff, Chloee Holden




                                                                                                  -'.



                                                                                             -
                                                                                                        :..:: ·:_...~




                                       Exhibit "1"
                                                                                                               .   - :-   ~-   ..   ~   .' · ,: ~

                                                                                         Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 8 of 10
                                                                                                                                                                                             ' ~~----·:~1il - ·- ·--~~..,i
           I                                                                                                                                              CITATION
                                                                                                                                                                   ,•

                                                                                                                                                                                               !:ase:1011-0000698
       J                                                                                                                                                                                       Division: C
                                                                                                                                                                                               21'1 Judicial District Cf)urt .
                                                                                                                                                                                               Parish of Tangipahoa


               I              ~
                              Ijj
                                         SOUTHEASTERN LOUISIANA UNIVERSITY, ET
                                         AL
                                                                                                                                                                                               State of Louisiana


                                                                                                                                                                                                                        TFW
            •                 ii            To: SOUTHEASTERN LOUISIANA UNIVERSITY
           ,~ I
                           .
                                                THROUGH ITS UNIVERSlrY PRESIDENT:
       :                      ~
                                                DR. JOHN CRAIN
       '                            ,           OFFICE OF THE PRESIDENT
                                                DYSON HALL, ROOM 106
                      -?·jj
                              ~jj               500 W. UNIVESITY AVENUE
                                                HAMMOND, LOUISIANA 70402
                              ~jj
                              ~
                           I
                              I                                Parish of Tangipahoa
                              I
                              I1           YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition ofwhich a true and
                              Ij         correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the

                          I   ~          Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State ofLouisiana within fifteen (15)
                                         days qfter the service hereof, under penalty ofdefault.

                          1 12,This2021.
                           [!I
                                     service was ordered by attorney MELANIE C. LOCKETT and was issued by the Clerk ofCourt on March
                           ~

                          1I             Pleading Served
                          I
                          l             PETITION FOR DAMAGES
                            I
                           J
                           I
                           I
                          Ij
                          ~                                                                                                                                                  Deputy Clerk ofCowt for
                          ~
                       I                                                                                                                                                     Gary T. Stanga, Clerk ofCowt
                        I
                       I~
                      I                                                                                                                             Service ln(orllllliUJn
                      I
                      ~                 Received on the                                          d if
                      i                                                                    - - - ayo _ _--=--=--------J' 20             and on the      dayof
                      1                                                                         , 20__ served the above named party as follows: - - - -
                      1
                   I                Personal Service on the party herein named
                   I                                                                                                                                -------------------------------
                   ~ f::::/:!~ary Service on the party herein named b)lleaving the same at his/her domicile in the parish in the
                 J                  years, living and residing in said domicile and whose nam ' :Je;:oflpparently over the age ofseventeen
                 I ~:~;n:ec;:rc:.nterrogating the said person, saidparty herei:b:in;abe:en~~:=~=:,.dr:::;::;= s;r;J,;~i~e of
                 jj
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               f                    DUE & DILIGENT UNABLE TO SERVE BECAUSE:
               ~                                                                                                                                              ------------------------------~
             I~I               Returned:
                               Parish oif
            fj                                                 - - - - - - - - - - - - - - ~~ ___ dayof_ _ _ _ _ _ _ _, 2 0 _.
           -~                 Service                                 $
           I
            f.                                                            -----
           I                  Mileage                                 $
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           ~                  Total                                  $
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?..-...-..-..,......,.....,*".....,.,./.                                                                                                            [SERVICE]

                                                                                                                      Exhibit "1"
                                                                                                        v......________________________ _
                                           ~........./...........................-y_.,.....,...,...,...-.:;
                         Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 9 of 10

            &        W        d te /x fiU             C lTATIO N
CHLOEE HOLDEN                                                                               Case: 2021-0000698
                                                                                            Division: C
Versus                                                                                      21st Judicial District Court
                                                                                            Parish of Tangipahoa
SOUTHEASTERN LOUISIANA UNIVERSITY, ET                                                       State of Louisiana
AL

                                                                                                                      TFW
 To: THE BOARD OF SUPER VISORS FOR THE UNIVERSITY OF LOUISIANA SYSTEM
     THROUGH:
     MELISSA HARRIS - OFFICE OF RISK MANAGEMENT OF THE STATE OF LOUISIANA
     1201 N. THIRD STREET, SUITE G-192
     BATON ROUGE, LA. 70802



         Parish o f EAST BATON ROUGE

  YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition o f which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in andfor the Parish o f Tangipahoa, State o f Louisiana within fifteen (15)
days after the service hereof, under penalty o f default.

This service was ordered by attorney MELANIE C. LOCKETT and was issued by the Clerk o f Court on March
12, 2021.

Pleadins Served

PETITION FOR DAMAGES




                                                                         Deputy Clerk o f Court for
                                                                         Gary T. Stanga, Clerk o f Court


                                                  Service Information

Received on the ______ day o f ___________________, 20____ and on the ________ day o f
__________________ j 20___ served the above named party as follows:

Personal Service on the party herein named ________________________________ _______________

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands o f ______________________________________, a person apparently over the age o f seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, I
learned by interrogating the said person, said party herein being absent from his/her residence at the time o f
said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE:

Returned:
Parish o f __                                           this             day o f                              20
                                                                                                       cn
Service         $_                                                                                           (.7*) , ' ■
                                            By:                                                              ■rn:: ‘
                                                                                                              IT ‘ •
Mileage         $                                       Deputy Sheriff                                       m.

                                                                                                      J tr
Total           $




                                              Exhibit "1"
                  Case 2:21-cv-00767 Document 1-1 Filed 04/15/21 Page 10 of 10
                                                   CITATION

CHLOEE HOLDEN                                                                            Case:2021~98
                                                                                        DMslo11:C
                                                                                        21" Judicial District Court
                                                                                        Parlsll of T1111glpa/loa
SOUTHEASTERN LOUISIANA UNJJ?iRSJTY, ET                                                  State of Loulsilllfa
AL

                                                                                                               TFW
 To: THE BOARD OF SUPERVISORS FOR THE UNIVERSrrY OF LOUISIANA
     THROUGH:
     JEFF LANDRY
     ATTORNEY GENERAL OF THE STATE OF LOUISIANA
     1885 N. 3RD STREET
     BATON ROUGE, LA. 70802



        Parish ofEAST BATON ROUGE

  YOU ARE HEREBY SUMMONED to comply with the demand contained in the Peltiti<li(l ofwhich a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading otherwise, in the
Twenty-First Judicial District Court in andfor the Parish ofTangipahoa, State of          within fifteen (15)
days after the service hereof, under penalty ofdefault.

This service was ordered by attorney MELANIE C. LOCKETT and was issued by the
12,2021.

Pleading Served

PETITION FOR DAMAGES




                                               Service Intormgt!gn

Received on the _ _ _ day of                , 20        and on the _ _ __                        of
_ _ _ _ _ _ _ __~ 20__ served the above named party as follows:

Personlll Service on the party herein n a m e d - - - - - - - - - - - - - - - - + - - - - - - ·

Domiciliary Service on the party herein named by leaving the same at his/her domicile in                in the
hands of                                                      a person apparently over the       ofseventeen
years, living and residing in said domicile and whose name and other facts connected with         service, I
learned by Interrogating the said person, said party herein being absent from his/her resid~l'lce at the time of
said service.

DUE cl DILIGENT UNABLE TO SERVE B E C A U S E : - - - - - - - - - - + - - - - - ·

Returned:
Parish of_ _ _ _ _ _ _ _ _ _ _ _ _ _ this _ _ _ day of_ _ _ _ _-+-___~ 20_ _.

Service     $_ _ __

Mileage     $_ _ __

Total       $_ _ __




                                                   [SERVICE]


                                            Exhibit "1"
